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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

__________________________________________
                                          :
ROBERT WHARTON,                           :                CIVIL ACTION
                                          :
                  Petitioner,             :                No. 01-6049
                                          :
            v.                            :
                                          :
DONALD T. VAUGHN, et al.                  :
                                          :
                  Respondents.            :
_________________________________________ :

                                           ORDER

       AND NOW, this 11th day of March, 2021, upon consideration of the Philadelphia District

Attorney’s Office’s (“District Attorney”) “Objection to Attorney General’s De Facto Intervention

as a Party” (ECF No. 226), Petitioner’s response in support thereto (ECF No. 231), and the

Pennsylvania Office of the Attorney General’s (“OAG”) response in opposition thereto (ECF No.

229), it is hereby ORDERED that the District Attorney’s objection is OVERRULED for the

following reasons:

   1. In January 2018, the United States Court of Appeals for the Third Circuit remanded

       Petitioner’s habeas case on one issue—whether his counsel was ineffective for failing to

       introduce mitigating evidence that Petitioner was adjusting well to incarceration. Wharton

       v. Vaughn, 722 F. App’x 268, 281 (3d Cir. 2018). In its assessment of the Strickland

       prejudice prong, the Third Circuit explained that Petitioner’s prison records, in the time

       period between his two penalty hearings, could establish that he was adjusting well to

       prison life, his behavior was generally satisfactory, and thus relevant to the sentencing

       determination. The Third Circuit anticipated that had Petitioner presented evidence of



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   positive prison adjustment, “the Commonwealth might have countered with other

   evidence, including an expert holding a contrary opinion.” Id. at 281. Based on this

   reasoning, the Third Circuit concluded that a hearing on this issue should be held and a

   factual record developed. Id. at 284.

2. Before a hearing was scheduled, the District Attorney advised that it agreed with Petitioner

   that counsel was ineffective, such that the jury’s death sentence should be vacated. I

   previously concluded that given the District Attorney’s reluctance to fully investigate this

   matter and explain this concession, the OAG’s participation at an evidentiary hearing was

   necessary. I also found that the extent of the OAG’s participation was a matter within my

   broad discretion and appropriate under the law. (Feb. 12, 2021 Mem. Opinion, ECF No.

   187, at 9–14.)

3. On February 26, 2021, after the first day of evidentiary hearing testimony, the District

   Attorney objected to the OAG’s participation, raising the same arguments as those already

   raised by Petitioner, which I have previously rejected. (See ECF Nos. 166, 170, 180, 187.)

   The District Attorney argues that “what began as a request for the views of an amicus has

   now morphed into the [OAG] becoming a full blown party to the litigation, in fact

   superseding the [District Attorney’s] prosecution without legal authority to do so.”

   (District Attorney’s Obj. at 1.) The District Attorney explains that it did not previously

   object to my request for the OAG’s participation because I had the authority to seek

   briefing from an amicus to assist with legal questions but that it did not previously

   anticipate the extent to which the OAG ultimately would participate.




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4. For the same reasons set forth in my February 12, 2020 Memorandum Opinion, the District

   Attorney’s objection is overruled. I reiterate that the District Attorney may present any

   evidence or argument that is admissible and appropriate.



                                        BY THE COURT:



                                        /s/ Mitchell S. Goldberg
                                        MITCHELL S. GOLDBERG, J.




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